                 Case 2:11-cr-00450-TLN Document 383 Filed 08/21/18 Page 1 of 2


 1 MCGREGOR SCOTT
   United States Attorney
 2 LEE S. BICKLEY
   HEIKO COPPOLA
 3 Assistant United States Attorney
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8

 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                             CASE NO. 2:11-CR-0450 TLN
12
                                    Plaintiff,             STIPULATIONS AND ORDER REGARDING
13                                                         BONDARUK’S MOTION FOR RELEASE
                             v.                            PENDING APPEAL
14
     PYOTR BONDARUK, et al.,                               DATE: September 20, 2018
15                                                         TIME: 9:30 a.m.
                                   Defendants.             COURT: Hon. Troy L. Nunley
16

17
                                                   STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
19
     through defendant Pyotr Bondaruk’s counsel of record, hereby stipulate as follows:
20
            1.       The defendant Pyotr Bondaruk filed a Motion for Bail Pending Appeal on August 16,
21
     2018, and noticed argument on this matter for September 20, 2018.
22
            2.       The United States’ opposition is due on August 23, 2018, seven days after the filing of
23
     defendant’s motion.
24
            3.       The United States represents that it needs additional time to research the many issues
25
     raised in the defendant’s motion.
26
            4.       By this stipulation, the parties agree and stipulate and ask that the Court find the
27
     following: the time period for the United States to file its opposition to the motion for bail pending
28
     appeal is extended to November 29, 2018.

      STIPULATION EXTENDING TIME FOR                       1
      OPPOSITION TO MOTION FOR BAIL
                Case 2:11-cr-00450-TLN Document 383 Filed 08/21/18 Page 2 of 2


 1         5.       Defendant’s reply will be due on December 6, 2018.

 2         6.       The September 20, 2018, date should be vacated, and this matter will be heard on

 3 December 13, 2018, at 9:30 a.m.

 4         IT IS SO STIPULATED.

 5

 6
     Dated: August 21, 2018                                 MCGREGOR SCOTT
 7                                                          United States Attorney
 8
                                                            /s/ LEE S. BICKLEY
 9                                                          LEE S. BICKLEY
                                                            Assistant United States Attorney
10

11
     Dated: August 21, 2018                                 /s/ LEE S. BICKLEY FOR
12                                                          TIMOTHY E. WARRINER
13                                                          Counsel for Defendant
                                                            Pyotr Bondaruk
14

15

16                                         FINDINGS AND ORDER

17         IT IS SO FOUND AND ORDERED this 21st day of August, 2018.

18

19

20

21                                                            Troy L. Nunley
                                                              United States District Judge
22

23

24

25

26

27

28

      STIPULATION EXTENDING TIME FOR                    2
      OPPOSITION TO MOTION FOR BAIL
